Case 4:18-cv-04543 Document 2 Filed on 12/03/18 in TXSD Page 1 of 2




           EXHIBIT E
       Case 4:18-cv-04543 Document 2 Filed on 12/03/18 in TXSD Page 2 of 2



                               UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

JOANNA BURKE and JOHN BURKE,                       §
                                                   §
       Plaintiffs,                                 §
                                                   §
v.                                                 §                Civil Action No. 4:18-cv-4543
                                                   §
HOPKINS LAW, PLLC, MARK                            §
DANIEL HOPKINS and SHELLEY                         §
LUAN HOPKINS,                                      §
                                                   §
       Defendants.                                 §

                        LIST OF ALL PARTIES/ COUNSEL OF RECORD

        Pursuant to Local Rule 81 of the Southern District of Texas, Defendants Hopkins Law,

PLLC, Mark Daniel Hopkins and Shelley Luan Hopkins (“Defendants”) present the following

list of all parties and counsel of record in this matter:



PRO SE PLAINTIFFS                                      COUNSEL FOR DEFENDANTS

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H610-1601
